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1    SOFYA DAVTYAN (State Bar # 259544)
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4
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5    E-mail: Sofya.Davtyan@bankruptcypower.com                        CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California

6    Proposed Counsel for Debtor and Debtor-in-Possession             BY Cetulio DEPUTY CLERK

     Mr. Tortilla, Inc.
7
8
                            UNITED STATES BANKRUPTCY COURT
9
                              CENTRAL DISTRICT OF CALIFORNIA
10
11                            SAN FERNANDO VALLEY DIVISION
12                                           )        CASE NO.: 1:24-bk-10228-VK
     In re:                                  )
13                                           )        Chapter 11
                                             )
14                                           )        ORDER GRANTING DEBTOR’S
     Mr. Tortilla, Inc.,
                                             )        MOTION FOR AN ORDER
15                                           )        AUTHORIZING DEBTOR TO SATISFY
16         Debtor and Debtor-in-Possession. ))        PRE-PETITION CLAIMS OF CRITICAL
                                                      VENDOR AMAZON.COM SERVICES,
                                             )        LLC NECESSARY FOR DEBTOR’S
17                                           )        CONTINUED BUSINESS OPERATION
                                             )
18                                           )
                                             )
19                                           )        Hearing Held On:
                                             )        Date: 3/7/2024
20                                           )        Time: 2:30 p.m.
                                             )
21                                           )        Place: Courtroom 301 [ZoomGov and in-
                                             )        person]
22                                           )        21041 Burbank Blvd., 3rd Floor
                                             )
23                                           )        Woodland Hills, CA 91367
                                             )
24                                           )
25
26            On March 7, 2024 at 2:30 p.m. in Courtroom 301 of the above-entitled Court, with
27   the Honorable Victoria S. Kaufman, Judge presiding, Debtor-In-Possession, Mr. Tortilla,
28
     Inc’s (the “Debtor”) Motion for Order Authorizing Debtor to Satisfy Pre-Petition Claims


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1    of Critical Vendor Amazon.com Services, LLC Necessary for Debtor’s Continued
2    Business Operation (the “Critical Vendor Motion”) [Docket No. 46] came on for hearing.
3    Appearances were stated on the record.
4          The Court having read and considered the Critical Vendor Motion, U.S. Trustee’s
5    Limited Objection to the Critical Vendor Motion [docket no.: 66], finding that notice and
6
     service of the Critical Vendor Motion was proper and good cause appearing therefor,
7
           IT IS HEREBY ORDERED THAT:
8
           1. The Critical Vendor Motion is GRANTED.
9
           2. Debtor is authorized, pursuant to 11 U.S.C. §§ 105(a) and 363(b)
10
     of the Bankruptcy Code, to pay the pre-petition claims of Amazon.com Services LLC
11
     (“Amazon”) as identified in the Critical Vendor Motion on the terms and in the manner
12
     provided for in the Critical Vendor Motion and this Order. More specifically, Amazon
13
     may deduct from sales proceeds in the seller account amounts necessary to satisfy the
14
15   prepetition fees and expenses in the approximate amount of Five Thousand Dollars

16   ($5,000) from the Canadian channel account, may deduct the sum of One Thousand

17   Dollars ($1,000) per month from the US channel account to apply to prepetition fees and
18   expenses for that account, and may deduct from payments on pre-petition invoices under
19   the Vendor account, amounts necessary to satisfy the prepetition fees and expenses in the
20   approximate amount of Twenty Three Thousand Dollars ($23,000) relating to the vendor
21   account (collectively the “Prepetition Claims”).
22         3.     Payments of the Prepetition Claims are conditioned on Amazon lifting the
23   reserve on the seller accounts and vendor account and resuming performance under the
24   Business Solutions Agreement and Vendor Terms and Conditions.
25
           4.     The Debtor shall maintain a matrix tracking the amount and date of
26
     payments made to Amazon on account of the Prepetition Claims that is to be submitted as
27
     part of the Debtor’s monthly operating report.
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1           5.     Amazon and the Debtor are authorized to continue to perform under the
2    terms of the Vendor Terms and Conditions (the “Vendor Contract”) in the ordinary
3    course, and Amazon is further authorized to deduct from future payments to the Debtor
4    credits, fees, expenses, and other charges (whether or not related to prepetition or post-
5    petition sales) from the Debtor’s payments on invoices and remit, to the Debtor, the
6
     Debtor’s net invoice amounts.
7
            6.     Amazon and the Debtor are authorized to continue to perform under the
8
     terms of the Business Solutions Agreement (the “BSA”) in the ordinary course, and
9
     Amazon is further authorized to continue netting fees, expenses, and other charges
10
     (whether or not related to prepetition or post-petition sales) from the Debtor’s Amazon
11
     Store sales proceeds in the Amazon seller account and remit net proceeds to the Debtor.
12
            7.     The automatic stay under Bankruptcy Code Section 362(a) is hereby
13
     modified as necessary to effectuate all of the terms and provisions of this Order.
14
15
16
17          APPROVED BY:
18
                                                PETER C. ANDERSON
19
                                                UNITED STATES TRUSTEE
20                                              Eryk R. Escobar,
                                                Assistant United States Trustee
21
22
23
                                                _________________________
24                                              Katherine C. Bunker
25
                                                Trial Attorney

26
27
28                                              E. MARTIN ESTRADA
                                                United States Attorney

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                                            DAVID M. HARRIS
1                                           Assistant United States Attorney
                                            Chief, Civil Division
2                                           JOANNE S. OSINOFF
3
                                            Assistant United States Attorney
                                            Chief, Complex and Defensive Litigation
4                                           Section

5
     Date: January ___, 2024             By:__________________________________
6                                          ELAN S. LEVEY
7                                          Assistant United States Attorney
                                           Attorneys for U.S. Small Business
8                                          Administration
9
10                                          K&L GATES LLP
11
12                                          __________________________
                                            Brandy A. Sargent
13
                                            Counsel for Amazon Capital Services, Inc.
14                                          And Amazon.com Services LLC
15
16                                          CORRIGAN & MORRIS LLP
17
18                                          _________________________
                                            Brian T. Corrigan
19                                          Counsel for Secured Creditors
20                                          Sand Park Capital, LLC and
                                            Cedar Advance, LLC
21
                                            ###
22
23
24       Date: March 20, 2024

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